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                              Entered on Docket
                     5August 12, 2021
                  ___________________________________________________________________
                         6
                                   GARMAN TURNER GORDON LLP
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                       10          7251 Amigo Street, Suite 210
                                   Las Vegas, Nevada 89119
                       11          Tel: 725-777-3000
                                   Counsel for ACF Finco I LP
                       12
                                                          UNITED STATES BANKRUPTCY COURT
                       13
                                                                    DISTRICT OF NEVADA
                       14
                                 In re:                                            CASE NO. BK-S-20-12814-MKN
                       15
                                 RED ROSE, INC.,                                     Jointly Administered with
                       16                                                            Case No. BK-S-20-12815-MKN
                                             Affects Beachhead Roofing and           Case No. BK-S-20-12816-MKN
                       17                    Supply, Inc.                            Case No. BK-S-20-12818-MKN
                                             Affects California Equipment Leasing Case No. BK-S-20-12819-MKN
                       18                    Association, Inc.                       Case No. BK-S-20-12820-MKN
                                             Affects Fences 4 America, Inc.          Case No. BK-S-20-12821-MKN
                       19                    Affects James Petersen Industries, Inc. Case No. BK-S-20-12822-MKN
                                             Affects PD Solar, Inc.                  Case No. BK-S-20-12823-MKN
                       20                    Affects Petersen Roofing and Solar      Case No. BK-S-20-12824-MKN
                                             LLC                                     Case No. BK-S-20-12825-MKN
                       21                    Affects Petersen-Dean, Inc.             Case No. BK-S-20-12826-MKN
                                             Affects PetersenDean Hawaii LLC         Case No. BK-S-20-12827-MKN
                       22                    Affects PetersenDean Roofing and        Case No. BK-S-20-12829-MKN
                                             Solar Systems, Inc.                     Case No. BK-S-20-12831-MKN
                       23                    Affects PetersenDean Texas, Inc.        Case No. BK-S-20-12833-MKN
                                             Affects Red Rose, Inc.
                       24                    Affects Roofs 4 America, Inc.           Chapter 11
                                             Affects Solar 4 America, Inc.
                       25                    Affects Sonoma Roofing Services,        Date:     August 11, 2021
                                             Inc.                                    Time:      9:30 a.m.
                       26                    Affects TD Venture Fund, LLC            Location:  300 South Las Vegas Boulevard
                                             Affects Tri-Valley Supply, Inc.                    Courtroom  2
                       27                    Affects All Debtors                                Las Vegas, Nevada 89101
                       28
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                         1               ORDER ESTABLISHING STREAMLINED PROCEDURES GOVERNING
                                         ASSOCIATED ADVERSARY PROCEEDINGS BROUGHT PURSUANT TO
                         2                              11 U.S.C. §§ 547 THROUGH 550

                         3                Upon the motion [ECF No. 1929] (the “Motion”)1 of ACF Finco I, LP (“ACF”) pursuant

                         4     to 105(a), 105(d), 547, 548, 549, and 550 of the Bankruptcy Code, Rules 3003, 7004, 7012, 7016,

                         5     7026, 9006, and 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

                         6     Rules 5005, 7016, 7026, 9006, and 9019 of the Local Rules of Bankruptcy Practice and Procedure

                         7     of the United States Bankruptcy Court for the District of Nevada; and this Court having jurisdiction

                         8     to consider and determine the Motion under 28 U.S.C. §§ 157 and 1334; and it appearing that

                         9     consideration of the Motion is a core proceeding in accordance with 28 U.S.C. § 157; and it further

                       10      appearing that the relief requested by the Motion is reasonable, necessary, and in the best interests

                       11      of all the parties; and good and sufficient notice of the Motion having been given to all persons

                       12      that may be defendants in the Avoidance Actions as listed on Exhibit A to the Motion (each, a

                       13      “Defendant” and, collectively, the “Defendants”); and all other necessary parties having been

                       14      provided good and sufficient notice of the Motion; and all objections to the Motion having been

                       15      resolved, overruled, or mooted by the provisions contained herein and no further or other notice

                       16      of the Motion being required; and sufficient and unique cause appearing for the non-material

                       17      deviations from the Local Rules sought in the Motion, including, without limitation, the fact that

                       18      ACF believes that it has a colorable basis to pursue what may be more than one hundred Avoidance

                       19      Actions;

                       20      IT IS HEREBY ORDERED:

                       21                 1.       The Motion is hereby granted in all respects.

                       22                 2.       Motions generally affecting Defendants in all Avoidance Actions may be filed in

                       23      the main Chapter 11 Case, Red Rose, Inc., Case No. 20-12814-MKN, rather than on the docket of

                       24      each individual Avoidance Action.

                       25                 3.       This Order and the following streamlined procedures shall apply to all Avoidance

                       26      Actions:

                       27
                               1
                       28          All capitalized, undefined terms shall have the meanings ascribed to them in the Motion.

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                         1     A.     Extensions to Answer or File Other Responsive Pleading to the Complaint.

                         2            Each Defendant’s time to file an answer or other responsive pleading to a complaint filed

                         3     in an Avoidance Action shall be extended to sixty (60) calendar days after the complaint is filed

                         4     commencing the Avoidance Action against the Defendant.

                         5     B.     Waiver of Requirement to Conduct Pretrial Conference.

                         6            Federal Rule of Civil Procedure 16, made applicable herein pursuant to Bankruptcy Rule

                         7     7016 (i.e., pretrial conferences), is hereby modified, such that unless otherwise ordered by the

                         8     Court in an individual Avoidance Action, the initial Scheduling Conferences in the Avoidance

                         9     Actions shall be continued to a date after the Mediation Process has concluded.

                       10      C.     Waiver of Requirement to Conduct Scheduling Conference.

                       11             Federal Rule of Civil Procedure 26(f), made applicable herein pursuant to Bankruptcy Rule

                       12      7026 (mandatory meeting before scheduling conference/discovery plan) is hereby waived and not

                       13      applicable with respect to the Avoidance Actions until after the Mediation Process has concluded,

                       14      except as otherwise set forth in Paragraph 3(D) of this Order. Accordingly, parties to the

                       15      Avoidance Actions shall not be required to submit a written report under Federal Rule of Civil

                       16      Procedure 26(f) until after the Mediation Process has concluded.

                       17      D.     Stay of Discovery.

                       18             The parties’ obligation to conduct formal discovery in each Avoidance Action shall be, and

                       19      hereby is, stayed until the Mediation Process is concluded; provided that the stay of discovery shall

                       20      in no way preclude, with respect to any Avoidance Action, ACF and the applicable Defendant

                       21      from informally exchanging documents and information in an attempt to resolve such Avoidance

                       22      Action in advance of, or during, the Mediation Process; provided further, that the proposed stay

                       23      also will not preclude either party from requesting pre-mediation formal discovery. If any party

                       24      to an Avoidance Action requests pre-mediation formal discovery, then:

                       25            i.       Should the non-requesting party consent to pre-mediation formal discovery, the

                       26                     parties shall conduct a Rule 26(f) conference and submit a discovery scheduling

                       27                     order to the Court (each such order, a “Scheduling Order”) that will provide for the

                       28                     completion of fact and expert discovery in advance of mediation; and
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                         1          ii.          If the non-requesting party does not consent to pre-mediation formal discovery:

                         2                           1. The requesting party may request relief from the stay of discovery by filing

                         3                                  a motion on shortened time to commence formal discovery that outlines the

                         4                                  dispute; and

                         5                           2. Upon resolution of the dispute, either by agreement of the parties or at the

                         6                                  direction of the Court, the parties shall either (x) continue with informal

                         7                                  discovery and the Mediation Process; or (y) conduct a Rule 26(f)

                         8                                  conference and submit a Scheduling Order to the Court.

                         9     E.     Mediation.

                       10             Any Avoidance Action that has not been settled or otherwise resolved within sixty (60)

                       11      days after the applicable complaint is filed (except with respect to any Avoidance Action as to

                       12      which a Scheduling Order has been entered as provided in Paragraph 3(D) of this Order or as

                       13      otherwise agreed in writing by both ACF and the applicable Defendant) is subject to the following

                       14      alternative dispute resolution procedures (the “Mediation Process”):

                       15                   i.   The Avoidance Actions will be mediated in Las Vegas, Nevada or via video

                       16                        conference.

                       17                 ii.    Absent further order of this Court, the mediators shall be chosen from those listed

                       18                        on Exhibit 2 hereto (the “Mediators”), unless otherwise mutually agreed by the

                       19                        parties.

                       20                 iii.   For each Avoidance Action subject to the Mediation Process, within two (2) weeks

                       21                        from commencement of the Mediation Process, the Defendant shall: (a) choose a

                       22                        Mediator from the list of Mediators; and (b) notify ACF of Defendant’s choice of

                       23                        Mediator by email to both Garrett Nye at gnye@brg.legal and Talitha Gray

                       24                        Kozlowski at tgray@brg.legal.

                       25                 iv.    If any Defendant does not timely choose a Mediator, ACF shall assign a Mediator

                       26                        to the Avoidance Action.

                       27                  v.    Upon the selection of a Mediator, ACF, working with the Mediators, will

                       28                        commence scheduling the mediation. Each Mediator will provide to ACF the dates
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                         1                 on which the Mediator is available for mediation and the parties shall cooperate

                         2                 with the Mediator and each other regarding the scheduling of the mediation. ACF’s

                         3                 counsel shall contact Defendant or Defendant’s counsel with a list of proposed

                         4                 dates for mediation as provided by the mediator. Mediation will then be scheduled

                         5                 on a first-come, first-served basis.

                         6           vi.   With respect to each Avoidance Action subject to the Mediation Process (the

                         7                 following, collectively, the “Mediation Procedures”):

                         8                 1. ACF will provide at least twenty-one (21) calendar days’ written notice of the

                         9                    first date, time, and place of each mediation (the “Mediation Notice”), which

                       10                     notice shall be served on the applicable Defendant.

                       11                  2. ACF and the applicable Defendant shall exchange position statements and

                       12                     provide a copy of such position statement to the Mediator, which may not

                       13                     (unless agreed in writing by both parties and the Mediator) exceed ten (10)

                       14                     pages double-spaced (exclusive of exhibits and schedules), five (5) calendar

                       15                     days prior to the scheduled mediation. Position statements shall include a

                       16                     settlement proposal. The Mediator, however, may require the parties to provide

                       17                     additional papers and exhibits.

                       18                  3. The Mediator will preside over the mediation with full authority to determine

                       19                     the nature and order of the parties’ presentations and the rules of evidence will

                       20                     not apply (other than Rule 408 of the Federal Rules of Evidence). The Mediator

                       21                     may implement additional procedures that are reasonable and practical under

                       22                     the circumstances.

                       23                  4. ACF and the applicable Defendant will participate in the mediation as

                       24                     scheduled and presided over by the Mediator, in good faith and with a view

                       25                     toward reaching a consensual resolution. At least one counsel for each party

                       26                     and a representative of each party having full settlement authority shall attend

                       27                     the mediation in person or via video conference.

                       28                  5. In the Mediator’s discretion upon notice (which need not be filed) the Mediator
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                         1                     may adjourn a mediation or move a mediation to a different location.

                         2                  6. The Mediator may also adjourn a mediation that has been commenced if the

                         3                     Mediator determines that an adjournment is in the best interests of the parties.

                         4           vii.   The fees and costs of the Mediator (the “Mediation Fee”) shall be paid by ACF on

                         5                  a fixed-fee schedule as set forth below. ACF shall pay one-fourth of the Mediator’s

                         6                  fee at least seven (7) calendar days prior to the commencement of mediation (the

                         7                  “Initial Mediation Fee”). The balance of the Mediator’s fee shall be paid by ACF

                         8                  following conclusion of the mediation pursuant to the terms of an invoice supplied

                         9                  by the Mediator (the “Mediation Fee Balance”); provided, however, that if the

                       10                   parties settle prior to the mediation, the Initial Mediation Fee shall be non-

                       11                   refundable unless the Mediator is informed of the settlement within seven (7)

                       12                   calendar days prior to the scheduled mediation; and the Mediation Fee Balance

                       13                   shall be deemed incurred and non-refundable unless the Mediator is informed of

                       14                   the settlement within one (1) business day prior to the scheduled mediation. The

                       15                   total fees and costs of mediation shall be fixed as follows:

                       16                      x   Cases with a claim amount (as reflected in the complaint) of $50,000 or
                       17                          less: $2,000 per Avoidance Action, which mediations shall be limited to

                       18                          three (3) hours.

                       19                      x   Cases with a claim amount (as reflected in the complaint) greater than
                       20                          $50,000 up to and including $100,000: $3,000 per Avoidance Action, which

                       21                          mediations shall be limited to five (5) hours.

                       22                      x   Cases with a claim amount (as reflected in the complaint) greater than
                       23                          $100,000 up to and including $250,000: $4,000 per Avoidance Action.

                       24                      x   Cases with a claim amount (as reflected in the complaint) greater than
                       25                          $250,000 up to and including $1,000,000: $5,000 per Avoidance Action.

                       26                      x   Cases with a claim amount (as reflected in the complaint) greater than
                       27                          $1,000,000: $6,000 per Avoidance Action.

                       28                      x   Defendants that have multiple Avoidance Actions (if any) in the Chapter 11
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                         1                         Cases pending against them may mediate all related Avoidance Actions at

                         2                         one time and, in such event, the Mediation Fee shall be based upon the

                         3                         combined total claim amount for all related Avoidance Actions.

                         4                     x   If the parties mutually request that a Mediator travel to a location other than
                         5                         Las Vegas, Nevada, and the Mediator agrees to the location, the Mediator’s

                         6                         fees shall increase by $1,000.

                         7                     x   Mediations may be continued to a second session upon agreement of all
                         8                         parties. In such case, the Mediator will also be paid the fixed-fee set forth

                         9                         above for the second session.

                       10           viii.   If a party: (a) fails to submit the required submissions as provided in the Mediation

                       11                   Procedures or as may be agreed to by the Mediator or ordered by the Court; or (b)

                       12                   fails to attend such mediation as required, the non-defaulting party may file a

                       13                   motion for default or a motion to dismiss the Avoidance Action. The Mediator

                       14                   shall promptly prepare a notice for ACF to file with the Court when any party fails

                       15                   to comply with the mediation provisions set forth in this Order.

                       16            ix.    No Mediator shall mediate an Avoidance Action in which he/she or his/her law firm

                       17                   represents a party. If a Mediator’s law firm represents a Defendant in any other

                       18                   Avoidance Action, such Mediator shall take all steps necessary to establish an

                       19                   ethical wall as required by the Nevada Rules of Professional Conduct, including,

                       20                   but not limited to, the following: (a) the Mediator shall not personally participate

                       21                   in the representation of that Defendant; (b) the law firm shall notate the file to

                       22                   indicate that the Mediator shall have no access to it; and (c) any discussions

                       23                   concerning that adversary proceeding by employees of the law firm shall exclude

                       24                   the Mediator. So long as the ethical wall is effectively established and maintained,

                       25                   the Mediator’s participation in the Mediation Process shall not create a conflict of

                       26                   interest with respect to the representation of any such Defendants by the Mediator’s

                       27                   law firm.

                       28
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                         1              x.    The Mediator shall not be called as a witness by any party except as set forth in this

                         2                    paragraph. No party shall attempt to compel the testimony of, or compel the

                         3                    production of documents from, the Mediators or the agents, partners or employees

                         4                    of the Mediators’ respective law firms. Neither the Mediators nor their respective

                         5                    agents, partners, law firms, or employees (a) are necessary parties in any proceeding

                         6                    related to the mediation or the subject matter of the mediation, nor (b) shall be liable

                         7                    to any party for any act or omission in connection with any mediation conducted

                         8                    pursuant to this Order. Any documents provided to the Mediator by the parties

                         9                    shall be destroyed thirty (30) calendar days after the mediation is concluded, unless

                       10                     otherwise ordered by the Court. However, a Mediator may be called as a witness

                       11                     by any party and may be compelled to testify and/or answer discovery on a limited

                       12                     basis in proceedings where it is alleged that a party failed to comply with mediation

                       13                     as required in this Order.

                       14              xi.    All proceedings and writings incident to the mediation shall be privileged and

                       15                     confidential and shall not be reported or admitted in evidence for any reason

                       16                     whatsoever.

                       17      F.     Discovery Schedule.

                       18             Except as provided in a Scheduling Order entered into pursuant to Paragraph 3(D), the

                       19      Mediation Process for each Avoidance Action must be concluded within on hundred eighty (180)

                       20      days after the filing of the complaint commencing the applicable Avoidance Action. The following

                       21      provisions and deadlines shall apply to any Avoidance Action that is not: (i) excepted pursuant to

                       22      a Scheduling Order entered in accordance with Paragraph 3(D); or (ii) settled prior to or through

                       23      the Mediation Process.

                       24                i.   ACF shall request the scheduling of the initial Scheduling Conference in the

                       25                     Avoidance Action.

                       26               ii.   The parties to the applicable Avoidance Action shall provide the disclosures

                       27                     required under Bankruptcy Rule 7026(a)(1) (“Initial Disclosures”) ten (10)

                       28                     calendar days after the initial Scheduling Conference.
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                         1           iii.   The parties shall have ninety (90) days to complete non-expert fact discovery,

                         2                  including depositions of fact witnesses.

                         3           iv.    The standard provisions of Federal Rule of Civil Procedure 33, made applicable

                         4                  herein pursuant to Bankruptcy Rule 7033, shall apply to the Avoidance Actions.

                         5            v.    The standard provisions of Federal Rule of Civil Procedure 34, made applicable

                         6                  herein pursuant to Bankruptcy Rule 7034, shall apply to the Avoidance Actions.

                         7           vi.    The standard provisions of Federal Rule of Civil Procedure 36, made applicable

                         8                  herein pursuant to Bankruptcy Rule 7036, shall apply to the Avoidance Actions.

                         9           vii.   Should a discovery dispute arise, the complainant shall file a motion with the Court

                       10                   to address the dispute.

                       11           viii.   Disclosure and reports of the parties’ case-in-chief experts (if any), required under

                       12                   Federal Rule of Civil Procedure 26(a)(2), made applicable herein pursuant to

                       13                   Bankruptcy Rule 7026, shall be made to the adverse party thirty (30) calendar days

                       14                   before the close of fact discovery as set in accordance with Paragraph F(iii) above.

                       15            ix.    Disclosure and reports of the parties’ rebuttal experts (if any), required under

                       16                   Federal Rule of Civil Procedure 26(a)(2), shall be made thirty (30) calendar days

                       17                   thereafter.

                       18             x.    All expert discovery, including expert witness depositions, shall be concluded sixty

                       19                   (60) days after the close of fact discovery as set in accordance with Paragraph F(iii)

                       20                   above.

                       21            xi.    All dispositive motions shall be filed no later than ninety (90) after the close of fact

                       22                   discovery as set in accordance with Paragraph F(iii) above.

                       23            xii.   The standard provisions of Federal Rule of Civil Procedure 26(e), made applicable

                       24                   herein pursuant to Bankruptcy Rule 7026, shall apply to the Avoidance Actions

                       25                   with respect to supplementation of discovery responses.

                       26      G.   Omnibus Hearings for the Avoidance Actions.

                       27              i.   Except as otherwise ordered by the Court, all matters concerning any Avoidance

                       28                   Action shall only be heard at an omnibus hearing before the Honorable Mike K.
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                         1                   Nakagawa (collectively, the “Avoidance Actions Omnibus Hearings”), at which

                         2                   there may be status conferences, final pre-trial conferences, and hearings on

                         3                   motions. The first Avoidance Actions Omnibus Hearing shall be held on October

                         4                   21, 2021 at 9:30 a.m. and the second Avoidance Actions Omnibus Hearing shall be

                         5                   held on December 28, 2021, at 9:30 a.m. Thereafter, Avoidance Actions Omnibus

                         6                   Hearings shall be scheduled at the convenience of the Court, but no more frequently

                         7                   than every sixty (60) calendar days.

                         8            ii.    ACF shall file a report one (1) week prior to each Avoidance Action Omnibus

                         9                   Hearing setting forth the status of each of the Avoidance Actions and

                       10                    contemporaneously shall deliver a copy of the report to the Court’s chambers.

                       11             iii.   No Defendant is required to appear at any Avoidance Actions Omnibus Hearing

                       12                    unless: (a) a contested motion pertaining to such Defendant’s Avoidance Action is

                       13                    calendared to be considered at the Avoidance Actions Omnibus Hearing: (b) the

                       14                    Court has directed such Defendant to appear; or (c) ACF has provided ten (10)

                       15                    calendar days’ prior written notice by email or mail to such Defendant or its counsel

                       16                    of its need to appear at an Avoidance Actions Omnibus Hearing. To the extent a

                       17                    Defendant in any Avoidance Action wishes to appear at an Avoidance Action

                       18                    Omnibus Hearing, the Defendant or its counsel must notify ACF’s counsel of same,

                       19                    in writing, ten (10) calendar days prior to said hearing so that ACF may properly

                       20                    prepare to address any issues or concerns at the Avoidance Action Omnibus

                       21                    Hearing or in advance thereof. To the extent the Court holds in-person hearings,

                       22                    any party wishing to participate at an Avoidance Action Omnibus Hearing may do

                       23                    so by telephone by complying with the Court’s procedures for telephonic

                       24                    appearance.

                       25             iv.    All motions, pleadings, requests for relief, or other materials that purport to set a

                       26                    hearing on a date or time other than an Avoidance Actions Omnibus Hearing shall

                       27                    automatically, and without Court order, be scheduled to be heard at an Avoidance

                       28                    Actions Omnibus Hearing that is at least thirty (30) calendar days after such motion,
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                         1                      pleading, request for relief, or other materials are filed and served. This does not

                         2                      limit a party’s right to seek expedited consideration of a motion or other request for

                         3                      relief pursuant to Local Rule 9006.

                         4               v.     With respect to each Avoidance Action that is not resolved through the Mediation

                         5                      Process or otherwise settled by ACF and the applicable Defendant, after all

                         6                      discovery has been completed in accordance with the Scheduling Order, the parties

                         7                      to the applicable Avoidance Action shall so inform the Court at the next scheduled

                         8                      Avoidance Actions Omnibus Hearing. At such time, the Court may address

                         9                      additional issues arising subsequent to this Order, set additional deadlines as

                       10                       necessary, establish a due date by which the parties must file a joint pretrial order,

                       11                       schedule a trial on the Avoidance Action that is convenient to the Court’s calendar,

                       12                       and otherwise address any matter appropriate under Rules 16 or 26 of the Federal

                       13                       Rules of Civil Procedure.

                       14      H.      Electronic Service.

                       15                 i.    Notice of Avoidance Actions Omnibus Hearings, and any motions or other

                       16                       pleadings filed by ACF in or related to the Avoidance Actions may be served by e-

                       17                       mail;2 provided that with respect to each Avoidance Action, a printed copy of the

                       18                       summons and complaint, and this Order, shall be served by U.S. Mail, postage

                       19                       prepaid, upon all parties entitled to notice thereof.

                       20                ii.    ACF shall send to each Defendant, together with this Order, a notice and

                       21                       information form, a copy of which is attached hereto as Exhibit 1 (the “Information

                       22                       Form”), and a pre-addressed, postage prepaid envelope. The Information Form

                       23                       must be completed by or on behalf of each Defendant and returned to ACF on or

                       24                       prior to the date on which an answer or other responsive pleading to a complaint is

                       25                       due in accordance with this Order. The Information Form must be completed and

                       26
                               2
                       27        Any Defendant that is an individual and is not represented by counsel shall not be subject to the provisions of
                               Paragraph H of this Order regarding service by e-mail, except if such Defendant provides the applicable Designated
                       28      Notice Party’s (as defined below) e-mail address to ACF on an Information Form (as defined below).

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                         1                       returned to ACF with valid contact information, including a name, address, phone

                         2                       number, facsimile number (if available), and an e-mail address for the Defendant

                         3                       or the parties designated by the Defendant to be contacted in connection with the

                         4                       Avoidance Actions (each, a “Designated Notice Party”). Only the Designated

                         5                       Notice Parties listed on the Information Form will receive notice of pleadings,

                         6                       conferences, and other information in connection with the Avoidance Actions.

                         7                       All such documents are subject to service by e-mail.

                         8                iii.   Service by e-mail shall be effective as of the date such e-mail is sent to the e-mail

                         9                       address provided by a Defendant in the Information Form.

                       10                 iv.    Parties may serve notices, motions, or pleadings in the Avoidance Actions by

                       11                        electronic means, including email and/or through the Electronic Case Filing System

                       12                        (“ECF”), consistent with Federal Rule of Civil Procedure 5(b)(2)(f), made

                       13                        applicable to the Avoidance Actions by Federal Rule of Bankruptcy Procedure

                       14                        7005.

                       15      I.     Miscellaneous.

                       16            i.          The Local Rules shall apply to all Avoidance Actions, except that this Order shall

                       17      control with respect to the Avoidance Actions to the extent of any conflict with the Local Rules or

                       18      any other applicable rules and orders.

                       19           ii.          The deadlines and procedures contained in this Order may be extended or modified

                       20      by the Court upon written motion and for good cause shown or by consent of the parties pursuant

                       21      to a stipulation, which stipulation shall be filed with the Court.

                       22             IT IS SO ORDERED.

                       23                                                      GARMAN TURNER GORDON LLP

                       24
                                                                               By: /s/ Gregory E. Garman ___________
                       25                                                         GREGORY GARMAN, ESQ.
                                                                                  TALITHA GRAY KOZLOWSKI, ESQ.
                       26                                                         7251 Amigo Street, Suite 210
                                                                                  Las Vegas, Nevada 89119
                       27                                                         Counsel for ACF FINCO I, LP

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Garman Turner Gordon
7251 Amigo Street, Ste. 210                                                       12
 Las Vegas, Nevada 89119
      (725) 777-3000
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                         1                              LOCAL RULE 9021 CERTIFICATION

                         2           In accordance with LR 9021, counsel submitting this document certifies as follows:
                         3                         The Bankruptcy Court waived the requirement of approval under LR
                         4                         9021(b)(1).

                         5                          No party appeared at the hearing or filed an objection to the motion.

                         6                          I have delivered a copy of this proposed order to all counsel who appeared
                                                    at the hearing, and any unrepresented parties who appeared at the hearing,
                         7                          and each has approved or disapproved the order as stated above.
                         8
                                                    Sasha Aliakbar-Amid, Esq. - Approved
                         9                          The Official Committee of Unsecured Creditors

                       10                           David Winterton, Esq. – Signature waived
                                                   Chowchilla Elementary School District
                       11
                                                    I have certified that under Chapter 7 or 13, that I have served a copy of this
                       12                           order with the motion pursuant to LR 9014(g), and that no party has
                       13                           objection to the form or content of the order.

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                               EXHIBIT 1
                    Information Form for Defendants
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                               In re Red Rose Inc. et. al, Debtors
                              Avoidance Action Information Form


_______________________________                     ______________________________
Name of Defendant                                   Address




_______________________________                     ______________________________
Name of Designated Notice Party                     City, State, Zip Code



   Please check this box if                         (   )__________________________
   Designated Notice Party                          Telephone Number of Designated Notice
   Does not have an email                           Party
   address


                                                    (___)___________________________
                                                    Facsimile Number of Designated Notice
                                                    Party



________________________________                    __________________________________
Signature of Authorized Person for                  Email Address of Designated Notice Party
Defendant


Please return this Information Form in the enclosed self-addressed envelope (postage prepaid) to:

BANKRUPTCY RECOVERY GROUP, LLC
Attn: GARRETT NYE, ESQ.
7251 Amigo Street, Suite 210
Las Vegas, Nevada 89119

Or by email to:
GARRETT NYE, ESQ. at gnye@brg.legal
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                                EXHIBIT 2

                          LIST OF MEDIATORS

               Mediator                                 Firm
      Janet Trost                                  Trost Law Firm

    Michael Carmel                             Michael W. Carmel, Ltd.

     Nedda Ghandi                             Ghandi Deeter Blackham

      Jason Bach                                Bach Law Firm, LLC

     Shelley Krohn                              Shelley D. Krohn, Ltd.
